        Case 1:24-cv-03557-JPO                Document 16           Filed 09/13/24   Page 1 of 22




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------- x
COREY BRISKIN and NICHOLAS MAGGIPINTO, on
behalf of themselves and all others similarly situated,
                                                                           ANSWER
                                                         Plaintiffs,
                                                                           24-cv-03557(JPO)
                             -against-

CITY OF NEW YORK, ERIC L. ADAMS, individually
and in his official capacity as the Mayor of the City of
New Yok, RENEE CAMPION, individually and in her
official capacity as the Commissioner of the Office of
Labor Relations of the City of New York, BILL
DEBLASIO, AND ROBERT LINN,
                                                       Defendants.
--------------------------------------------------------------------- x

                 Defendants, by their attorney, Muriel Goode-Trufant , Acting Corporation Counsel

of the City of New York, as and for their answer to the Complaint, respectfully allege as follows:

                 1.       Deny the allegations set forth in paragraph “1” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

regarding Plaintiffs’ or that of unidentified gay men abilities to conceive a child or for what

purpose unidentified individuals use in vitro fertilization (IVF), and admit that the City offers

healthcare benefits to City employees and their eligible dependents through the New York City

Health Benefits Program, which includes access to IVF treatments.

                 2.       Deny the allegations set forth in paragraph “2” of the Complaint, except

admit that the City offers healthcare benefits to City employees and their eligible dependents.

                 3.       Deny the allegations set forth in paragraph “3” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

regarding whether gay men like Plaintiffs who wish to have biological children have no path to do

so without IVF. To the extent the allegations call for a legal conclusion, no response is required.
        Case 1:24-cv-03557-JPO               Document 16          Filed 09/13/24   Page 2 of 22




                 4.       Deny the allegations set forth in paragraph “4” of the Complaint, and

respectfully refer the Court to the City's Health Benefits Summary Program Description for a

complete and accurate statement of the program's infertility benefits and coverage 1.

                 5.       Deny the allegations set forth in paragraph “5” of the Complaint, and

respectfully refer the Court to the City's Health Benefits Summary Program Description for a

complete and accurate statement of the program's infertility benefits and coverage. To the extent

the allegations call for a legal conclusion, no response is required.

                 6.       Deny the allegations set forth in paragraph “6” of the Complaint, and

respectfully refer the Court to the City's Health Benefits Summary Program Description for a

complete and accurate statement of the program's infertility benefits and coverage.

                 7.       Deny the allegations set forth in paragraph “7” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

regarding the policies of large employers or the needs of gay men to grow their families vis-à-vis

any other unidentified employee, and respectfully refer the Court to the City's Health Benefits

Summary Program Description for a complete and accurate statement of the program's infertility

benefits and coverage.

                 8.       Deny the allegations set forth in paragraph “8” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

regarding whether Plaintiffs have been eager to grow their family through the conception of

biological children and allegations concerning the out-of-pocket costs of IVF and admit that

Plaintiff Briskin worked for the City of New York from 2017 to 2022 as an Assistant District

Attorney in New York County.


1
 The City of New York Health Benefits Summary Program Description,
https://www.nyc.gov/assets/olr/downloads/pdf/health/health-full-spd.pdf


                                                      -2-
       Case 1:24-cv-03557-JPO           Document 16         Filed 09/13/24     Page 3 of 22




               9.      Deny the allegations set forth in paragraph “9” of the Complaint.

               10.     Deny the allegations set forth in paragraph “10” of the Complaint, except

admit that City of New York as an employer abides by federal, state and local laws.

               11.     The allegations set forth in paragraph “11” of the Complaint assert

conclusions of law for which no response is required. To the extent that a response is required,

Defendants deny the allegations set forth in paragraph “11”, and respectfully refer the Court to the

cases and statutes cited therein for a complete and accurate statement of their contents.

               12.     The allegations set forth in paragraph “12” of the Complaint assert

conclusions of law for which no response is required. To the extent that a response is required,

Defendants deny the allegations set forth in paragraph “12”, and respectfully refer the Court to the

cases cited therein for a complete and accurate statement of their contents.

               13.     Deny the allegations set forth in paragraph “13” of the Complaint.

               14.     Deny the allegations set forth in paragraph “14” of the Complaint, except

admit that Plaintiffs purports to proceed as set forth therein.

               15.     Deny the allegations set forth in paragraph “15” of the Complaint, except

admit that the City has informed Plaintiffs that the City's Health Benefits Program does not provide

coverage for IVF benefits related to surrogacy and that plaintiffs purport to proceed as set forth

therein.

               16.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “16” of the Complaint, except admit that Plaintiff Briskin,

a New York County Assistant District Attorney employed by the City of New York from 2017 to

2022, and his eligible dependent, Plaintiff Nicolas Maggipinto participated in the GHI-

Comprehensive Benefits Plan/Anthem Blue Cross and Blue Shield Hospital Plan, insured by




                                                 -3-
          Case 1:24-cv-03557-JPO        Document 16        Filed 09/13/24    Page 4 of 22




Emblem Health and Anthem Blue Cross, one of plans offered through the City's Health Benefits

Program, and that Plaintiff Briskin remains covered under the Health Benefits Program through

post-employment COBRA coverage.

                17.    Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “17” of the Complaint, except admit that Plaintiff Nicholas

Maggipinto was covered by the GHI-Comprehensive Benefits Plan/Anthem Blue Cross and Blue

Shield Hospital Plan, insured by Emblem Health and Anthem Blue Cross and Blue Shield, one of

plans offered through the City of New York’s Health Benefits Program from 2017 through March

2022, as an eligible dependent of his husband, Plaintiff Briskin, during Mr. Briskin’s employment

with the City of New York.

                18.    Deny the allegations set forth in paragraph “18” of the Complaint, except

admit that the Office of Labor Relations is a municipal agency of the City of New York, and

respectfully refer the Court to the New York State Constitution Article XIII, § 13 for a full and

accurate recitation of the structure and organization of the New York County District Attorney’s

Office.

                19.    Deny the allegations set forth in paragraph “19” of the Complaint, except

admit that Eric L. Adams is the current Mayor of the City of New York and has served in that

capacity since January 1, 2022, and respectfully refer the Court to New York City Charter §§3-20

for a complete recitation of the duties of the Mayor's office.

                20.    Deny the allegations set forth in paragraph “20” of the Complaint, except

admit that Renee Campion is the current Commissioner of OLR and has served in that capacity

since 2019.




                                                -4-
       Case 1:24-cv-03557-JPO            Document 16        Filed 09/13/24       Page 5 of 22




                21.     Deny the allegations set forth in paragraph “21” of the Complaint, except

admit that Bill de Blasio was the Mayor of the City of New York from January 1, 2014 to

December 31, 2021, and respectfully refer the Court to New York City Charter §§3-20 for a

complete recitation of the duties of the Mayor's office.

                22.     Deny the allegations set forth in paragraph “22” of the Complaint, except

admit that Robert Linn was the Commissioner of OLR from 2014 to 2019.

                23.     Deny the allegations set forth in paragraph “23” of the Complaint, except

admit that Plaintiff purports to invoke the jurisdiction of the Court as stated therein, and

respectfully refer the Court to the cited statutes for a complete and accurate statement of their

contents.

                24.     Deny the allegations set forth in paragraph “24” of the Complaint, except

admit that Plaintiff purports to invoke the jurisdiction of the Court as stated therein, and

respectfully refer the Court to the cited statute for a complete and accurate statement of its contents.

                25.     Deny the allegations set forth in paragraph “25” of the Complaint, except

admit that Plaintiff purports to invoke the jurisdiction of the Court as stated therein.

                26.     Deny the allegations set forth in paragraph “26” of the Complaint, except

admit that Plaintiff purports to base venue as stated therein, and respectfully refer the Court to the

cited statute for a complete and accurate statement of its contents.

                27.     Deny the allegations set forth in paragraph “27” of the Complaint, except

admit that on April 12, 2022, Plaintiffs filed a charge of discrimination with the EEOC on behalf

of themselves and similarly situated gay males.

                28.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “28” of the Complaint.




                                                 -5-
       Case 1:24-cv-03557-JPO           Document 16        Filed 09/13/24      Page 6 of 22




               29.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “29” of the Complaint, and respectfully refer the Court to the

footnoted weblink for a complete and accurate statement of its contents.

               30.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “30” of the Complaint.

               31.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “31” of the Complaint.

               32.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “32” of the Complaint.

               33.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “33” of the Complaint, and respectfully refer the Court to the

footnoted weblink for a complete and accurate statement of its contents.

               34.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “34” of the Complaint.

               35.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “35” of the Complaint, and respectfully refer the Court to the

footnoted weblinks for a complete and accurate statement of their contents.

               36.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “36” of the Complaint.

               37.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “37” of the Complaint.

               38.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “38” of the Complaint.




                                                -6-
       Case 1:24-cv-03557-JPO           Document 16        Filed 09/13/24      Page 7 of 22




               39.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “39” of the Complaint.

               40.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “40” of the Complaint.

               41.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “41” of the Complaint, and respectfully refer the Court to the

footnoted statutes for a complete and accurate statement of their contents.

               42.     Deny the allegations set forth in paragraph “42” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegation that the

City of New York is one of the largest employers in the United States and admit that the City of

New York employs full-time employees such as teachers, police officers, fire fighters, nurses,

doctors, social workers, sanitation workers, and lawyers, and respectfully refer the Court to the

footnoted weblinks for a complete and accurate statement of their contents.

               43.     Deny the allegations set forth in paragraph “43” of the Complaint, except

deny information or knowledge sufficient to form a basis of belief as to the cost of living in New

York City vis-à-vis other cities in the United States, and respectfully refer the Court to the

footnoted weblinks for a complete and accurate statement of their contents.

               44.     Deny the allegations set forth in paragraph “44” of the Complaint, except

deny information or knowledge sufficient to form a basis of belief as to whether the City’s

healthcare plan provides an economic value to plan participants that can be tens of thousands of

dollars per year, and even hundreds of thousands of dollars in cases of more serious medical

conditions or diseases, and admit that the City of New York offers its employees and their eligible

dependents healthcare benefits.




                                                -7-
       Case 1:24-cv-03557-JPO           Document 16        Filed 09/13/24     Page 8 of 22




               45.     Deny the allegations set forth in paragraph “45” of the Complaint, and

respectfully refer the Court to the footnoted weblink for a complete and accurate statement of its

contents.

               46.     Deny the allegations set forth in paragraph “46” of the Complaint, except

admit that the City of New York offers its employees health care coverage through GHI-

Comprehensive Benefits Plan/Anthem Blue Cross and Blue Shield Hospital Plan, insured by

Emblem Health and Anthem Blue Cross and Blue Shield, amongst other plans.

               47.     Deny the allegations set forth in paragraph “47” of the Complaint, and

respectfully refer the Court to the City's Health Benefits Summary Program Description for a

complete and accurate statement of the program's infertility benefits and coverage.

               48.     Deny the allegations set forth in paragraph “48” of the Complaint.

               49.     Deny the allegations set forth in paragraph “49” of the Complaint, and

respectfully refer the Court to the City's Health Benefits Summary Program Description for a

complete and accurate statement of the program's infertility benefits and coverage.

               50.     Deny the allegations set forth in paragraph “50” of the Complaint, and

respectfully refer the Court to the City's Health Benefits Summary Program Description for a

complete and accurate statement of the program's infertility benefits and coverage.

               51.     Deny the allegations set forth in paragraph “51” of the Complaint, except

admit that unlike different-sex couples, same-sex male couples cannot conceive through sexual

intercourse with each other.

               52.     Deny the allegations set forth in paragraph “52” of the Complaint, except to

the extent the allegations call for a legal conclusion to which no response is required.




                                                -8-
       Case 1:24-cv-03557-JPO           Document 16        Filed 09/13/24      Page 9 of 22




               53.     Deny the allegations set forth in paragraph “53” of the Complaint, and

respectfully refer the Court to the City's Health Benefits Summary Program Description for a

complete and accurate statement of the program's infertility benefits and coverage.

               54.     Deny the allegations set forth in paragraph “54” of the Complaint.

               55.     Deny the allegations set forth in paragraph “55” of the Complaint.

               56.     Deny the allegations set forth in paragraph “56” of the Complaint, and

respectfully refer the Court to the City's Health Benefits Summary Program Description for a

complete and accurate statement of the program's infertility benefits and coverage. To the extent

that the allegations call for a legal conclusion, no response is required.

               57.     Deny the allegations set forth in paragraph “57” of the Complaint.

               58.     Admit the allegations set forth in paragraph “58” of the Complaint.

               59.     The allegations set forth in paragraph “59” of the Complaint assert

conclusions of law for which no response is required, and respectfully refer the Court to the case

law cited therein for a complete and accurate statement of their contents.

               60.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “60” of the Complaint.

               61.     Deny the allegations set forth in paragraph “61” of the Complaint, except

admit Plaintiff Briskin worked as an Assistant District Attorney in the New York County District

Attorney’s Office from 2017 to 2022.

               62.     Admit the allegations set forth in paragraph “62” of the Complaint.

               63.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “63” of the Complaint, except admit that in 2022, Plaintiff

Briskin left the District Attorney’s Office and retained his benefits under the City’s Health Benefits




                                                -9-
      Case 1:24-cv-03557-JPO            Document 16         Filed 09/13/24   Page 10 of 22




Program and separately retained his benefits under the City’s Management Benefits Fund (“MBF”)

by enrolling in COBRA.

                64.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “64” of the Complaint, except admit that Plaintiff Maggipinto

retained the benefits provided under the City’s MBF through enrolling in COBRA.

                65.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “65” of the Complaint.

                66.     Deny the allegations set forth in paragraph “66” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

regarding whether Plaintiffs could not afford the substantial expense of IVF. To the extent the

allegations call for a legal conclusion, no response is required.

                67.     Deny the allegations set forth in paragraph “67” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

regarding whether Plaintiffs were forced to delay the process of conceiving children and growing

their family for over five years.

                68.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “68” of the Complaint, except admit that New York State has

mandated that IVF coverage cannot be denied on the basis of sex or sexual orientation.

                69.     Deny the allegations set forth in paragraph “69” of the Complaint, except

admit that Plaintiff Briskin contacted the Office of Labor Relations in 2021, and deny knowledge

or information sufficient to form a belief as to the truth of whether Plaintiff Briskin contacted a

human resources representative in New York District Attorney’s Office to request IVF coverage.




                                                 - 10 -
      Case 1:24-cv-03557-JPO               Document 16   Filed 09/13/24      Page 11 of 22




               70.     Deny the allegations set forth in paragraph “70” of the Complaint, except

admit that the New York City Corporation Counsel represents the City of New York in legal

disputes.

               71.     Deny the allegations set forth in paragraph “71” of the Complaint.

               72.     Deny the allegations set forth in paragraph “72” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

regarding whether the Plaintiffs could not afford IVF services or about their feelings.

               73.     Deny the allegations set forth in paragraph “73” of the Complaint, except

admit that Plaintiffs filed a sex and sexual orientation discrimination charge against the City of

New York with the EEOC, asserting claims under Title VII of the Civil Rights Act of 1964, the

New York State Human Rights Law, and the New York City Human Rights Law and that the City

of New York, through its attorneys, responded to the charge.

               74.     Deny the allegations set forth in paragraph “74” of the Complaint, and

respectfully refer the Court to the City’s position statement, dated May 13, 2022 , for a complete

and accurate recitation of its contents.

               75.     Deny the allegations set forth in paragraph “75” of the Complaint, except

deny knowledge or information sufficient to form a belief as to what the EEOC learned.

               76.     Deny the allegations set forth in paragraph “76” of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

regarding whether the Plaintiffs were able to take the first steps in growing their family and

whether a doctor retrieved eggs from a donor and fertilized them in a laboratory using Plaintiffs’

sperm.




                                                - 11 -
      Case 1:24-cv-03557-JPO           Document 16         Filed 09/13/24     Page 12 of 22




               77.     Deny the allegations set forth in paragraph “77” of the Complaint, except to

the extent the allegations call for a legal conclusion to which no response is required.

               78.     Deny the allegations set forth in paragraph “78” of the Complaint, except

deny knowledge or information sufficient to form a basis of belief as to the truth of Plaintiffs’

estimate.

               79.     Deny the allegations set forth in paragraph “79” of the Complaint, except

deny knowledge or information sufficient to form a basis of belief as to what unidentified gay men

have foregone or expended.

               80.     Deny the allegations set forth in paragraph “80” of the Complaint, except

admit that Plaintiff filed an EEOC charge in April 2022.

               81.     The allegations set forth in paragraph “81” of the Complaint assert

conclusions of law for which no response is required. To the extent that a response is required,

Defendants deny the allegations set forth in paragraph “81” and respectfully refer the Court to the

statutes cited therein for a complete and accurate statement of their contents.

               82.     The allegations set forth in paragraph “82” of the Complaint assert

conclusions of law for which no response is required. To the extent that a response is required,

Defendants deny the allegations set forth in paragraph “82” and respectfully refer the Court to the

case law and constitutional provisions cited therein for a full and accurate statement of their

contents.

               83.     Deny the allegations set forth in paragraph “83” of the Complaint.

               84.     Deny the allegations set forth in paragraph “84” of the Complaint.

               85.     Deny the allegations set forth in paragraph “85” of the Complaint.

               86.     Deny the allegations set forth in paragraph “86” of the Complaint.




                                               - 12 -
      Case 1:24-cv-03557-JPO            Document 16        Filed 09/13/24   Page 13 of 22




               87.     Deny the allegations set forth in paragraph “87” of the Complaint, except

admit that Plaintiffs purports to proceed as set forth therein.

               88.     Deny the allegations set forth in paragraph “88” of the Complaint, except

admit that Plaintiffs purports to proceed as set forth therein.

               89.     Deny the allegations set forth in paragraph “89” of the Complaint.

               90.     Deny the allegations set forth in paragraph “90” of the Complaint, except

admit that Plaintiffs purport to proceed as set forth therein.

               91.     Deny the allegations set forth in paragraph “91” of the Complaint, except

admit that Plaintiffs purport to proceed as set forth therein.

               92.     Deny the allegations set forth in paragraph “92” of the Complaint, except

admit that Plaintiff Briskin purports to proceed as set forth therein.

               93.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “93” of the Complaint.

               94.     Deny the allegations set forth in paragraph “94” of the Complaint, except

admit that Plaintiffs purport to proceed as set forth therein.

               95.     Deny the allegations set forth in paragraph “95” of the Complaint, except

admit that Plaintiffs purport to proceed as set forth therein.

               96.     Deny the allegations set forth in paragraph “96” of the Complaint, except

admit that Plaintiffs purport to proceed as set forth therein.

               97.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “97” of the Complaint.




                                                - 13 -
      Case 1:24-cv-03557-JPO            Document 16        Filed 09/13/24      Page 14 of 22




               98.     Deny the allegations set forth in paragraph “98” of the Complaint, except

admit that Plaintiffs purport to proceed as set forth therein and deny knowledge or information

sufficient to form a basis of belief as to where unidentified individuals live and work.

               99.     Deny knowledge or information sufficient to form a belief as to the truth of

the allegations set forth in paragraph “99” of the Complaint.

               100.    In response to paragraph “100” of Complaint, Defendants repeat and

reallege their responses to paragraphs "1" through "99" of the Complaint, as if fully set forth herein.

               101.    Deny the allegations set forth in paragraph “101” of the Complaint, except

admit that Plaintiffs purport to proceed as set forth therein.

               102.    The allegations set forth in paragraph “102” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the statue

cited therein for a complete and accurate statement of its contents.

               103.    The allegations set forth in paragraph “103” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer he Court to the statute

cited therein for a complete and accurate recitation of its contents. Admit, however, that Plaintiff

Briskin was an employee of the City of New York from 2017 to 2022.

               104.    The allegations set forth in paragraph “104” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the statute

cited therein for a complete and accurate statement of its contents.

               105.    The allegations set forth in paragraph “105” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the statute

cited therein for a complete and accurate statement of its contents.




                                                - 14 -
      Case 1:24-cv-03557-JPO            Document 16        Filed 09/13/24     Page 15 of 22




                106.   The allegations set forth in paragraph “106” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the statute

cited therein for a complete and accurate statement of its contents.

                107.   Deny the allegations set forth in paragraph “107” of the Complaint.

                108.   Deny the allegations set forth in paragraph “108” of the Complaint.

                109.   Deny the allegations set forth in paragraph “109” of the Complaint.

                110.   Deny the allegations set forth in paragraph “110” of the Complaint.

                111.   Deny the allegations set forth in paragraph “111” of the Complaint.

                112.   Deny the allegations set forth in paragraph “112” of the Complaint.

                113.   Deny the allegations set forth in paragraph “113” of the Complaint, except

admit that Plaintiffs purport to proceed as set forth therein.

                114.   In response to paragraph “114” of Complaint, Defendants repeat and

reallege their responses to paragraphs paragraph "1" through "113" of the Complaint, as if fully

set forth herein.

                115.   Deny the allegations set forth in paragraph “115” of the Complaint, except

admit that Plaintiff Briskin purports to proceed as set forth therein.

                116.   The allegations set forth in paragraph “116” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the statute

cited therein for a complete and accurate recitation of its contents.

                117.   The allegations set forth in paragraph “117” of the Complaint assert a

conclusion of law for which no response is required , and respectfully refer the Court to the statute

cited therein for a complete and accurate recitation of its contents. Admit, however, that Plaintiff

Briskin was an employee of the City of New York from 2017 to 2022.




                                                - 15 -
      Case 1:24-cv-03557-JPO           Document 16            Filed 09/13/24   Page 16 of 22




               118.    The allegations set forth in paragraph “118” of the Complaint assert a legal

conclusion for which no response is required, and respectfully refer the Court to the statute cited

therein for a complete and accurate recitation of its contents.

               119.    Deny the allegations set forth in paragraph “119” of the Complaint.

               120.    Deny the allegations set forth in paragraph “120” of the Complaint.

               121.    Deny the allegations set forth in paragraph “121” of the Complaint.

               122.    Deny the allegations set forth in paragraph “122” of the Complaint.

               123.    Deny the allegations set forth in paragraph “123” of the Complaint.

               124.    Deny the allegations set forth in paragraph “124” of the Complaint.

               125.    Deny the allegations set forth in paragraph “125” of the Complaint, except

admit that Plaintiffs purport to proceed as stated therein.

               126.    In response to paragraph “126” of Complaint, Defendants repeat and

reallege their responses to paragraphs "1" through "125" of the Complaint, as if fully set forth

herein.

               127.    Deny the allegations set forth in paragraph “127” of the Complaint, except

admit that Plaintiff purports to proceed as stated therein.

               128.    The allegations set forth in paragraph “128” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the statute

cited therein for a complete and accurate recitation of its contents.

               129.    The allegations set forth in paragraph “129” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the statute

cited therein for a complete and accurate recitation of its contents.

               130.    Deny the allegations set forth in paragraph “130” of the Complaint.




                                                - 16 -
      Case 1:24-cv-03557-JPO           Document 16            Filed 09/13/24   Page 17 of 22




               131.    Deny the allegations set forth in paragraph “131” of the Complaint.

               132.    Deny the allegations set forth in paragraph “132” of the Complaint.

               133.    Deny the allegations set forth in paragraph “133” of the Complaint.

               134.    Deny the allegations set forth in paragraph “134” of the Complaint.

               135.    Deny the allegations set forth in paragraph “135” of the Complaint.

               136.    Deny the allegations set forth in paragraph “136” of the Complaint, except

admit that Plaintiffs purport to proceed as stated therein.

               137.    In response to paragraph “137” of Complaint, Defendants repeat and

reallege their responses to paragraphs "1" through "136" of the Complaint, as if fully set forth

herein.

               138.    Deny the allegations set forth in paragraph “138” of the Complaint, except

admit that Plaintiffs purport to proceed as stated therein.

               139.    Deny the allegations set forth in paragraph “139” of the Complaint.

               140.    Deny the allegations set forth in paragraph “140” of the Complaint.

               141.    The allegations set forth in paragraph “141” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the

constitutional provision cited therein for a complete and accurate statement of its contents.

               142.    The allegations set forth in paragraph “142” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the

constitutional provision cited therein for a complete and accurate statement of its contents.

               143.    The allegations set forth in paragraph “143” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the

constitutional provision cited therein for a complete and accurate statement of its contents.




                                                - 17 -
      Case 1:24-cv-03557-JPO            Document 16           Filed 09/13/24   Page 18 of 22




                  144.   The allegations set forth in paragraph “144” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the

constitutional provision cited therein for a complete and accurate statement of its contents.

                  145.   Deny the allegations set forth in paragraph “145” of the Complaint.

                  146.   Deny the allegations set forth in paragraph “146” of the Complaint.

                  147.   Deny the allegations set forth in paragraph “147” of the Complaint.

                  148.   Deny the allegations set forth in paragraph “148” of the Complaint.

                  149.   Deny the allegations set forth in paragraph “149” of the Complaint, except

admit that Plaintiffs purport to proceed as stated therein.

                  150.   In response to paragraph “150” of Complaint, Defendants repeat and

reallege their responses to paragraphs paragraph "1" through "149" of the Complaint, as if fully

set forth here.

                  151.   Deny the allegations set forth in paragraph “151” of the Complaint, except

admit that Plaintiffs purport to proceed as stated therein.

                  152.   Deny the allegations set forth in paragraph “152” of the Complaint.

                  153.   Deny the allegations set forth in paragraph “153” of the Complaint.

                  154.   The allegations set forth in paragraph “154” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the

constitutional provision cited therein for a complete and accurate statement of its contents.

                  155.   The allegations set forth in paragraph “155” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the

constitutional provision cited therein for a complete and accurate statement of its contents.




                                                - 18 -
      Case 1:24-cv-03557-JPO            Document 16           Filed 09/13/24   Page 19 of 22




               156.    The allegations set forth in paragraph “156” of the Complaint assert a

conclusion of law for which no response is required, and respectfully refer the Court to the statutes,

constitutional provisions, and cases cited therein for a complete and accurate statement of their

contents.

               157.    Deny the allegations set forth in paragraph “157” of the Complaint.

               158.    Deny the allegations set forth in paragraph “158” of the Complaint.

               159.    Deny the allegations set forth in paragraph “159” of the Complaint.

               160.    Deny the allegations set forth in paragraph “160” of the Complaint.

               161.    Deny the allegations set forth in paragraph “161” of the Complaint, except

admit that Plaintiffs purport to proceed as stated therein.

                                 AS AND FOR A FIRST DEFENSE

               162.    The Complaint fails to state any claim upon which relief may be granted.

                             AS AND FOR A SECOND DEFENSE

               163.    At all relevant times alleged in the Complaint, Defendants’ actions were

reasonable, proper, lawful, constitutional, and made and without malice and/or without willful

intent to violate any applicable law, rule, or regulation.

                                 AS AND FOR A THIRD DEFENSE

               164.    Defendants have not willfully violated any of the Plaintiffs’ rights under

Title VII, New York State Human Rights Law, New York City Human Rights Law, and §1983 of

the Civil Rights Act of 1871.

                             AS AND FOR A FOURTH DEFENSE

               165.    Defendants have not willfully violated any rights, privileges or immunities

of the Plaintiffs under the Constitution of laws of the United States, the State of New York, or any

political subdivision thereof.


                                                - 19 -
       Case 1:24-cv-03557-JPO          Document 16        Filed 09/13/24   Page 20 of 22




                               AS AND FOR A FIFTH DEFENSE

                166.   Defendants have not adopted any policy, practice, or custom violative of

Plaintiffs’ rights.

                              AS AND FOR A SIXTH DEFENSE

                167.   The individual named defendants are immune from suit under the doctrine

of qualified immunity.

                            AS AND FOR A SEVENTH DEFENSE

                168.   The Complaint is barred, in whole or in part, by the failure to join a

necessary party, failure to join an indispensable party, or both.

                            AS AND FOR AN EIGHTH DEFENSE

                169.   Plaintiffs’ request for punitive damages is barred, in whole or in part,

because punitive damages are not available against a government or governmental subdivision.




                                                - 20 -
      Case 1:24-cv-03557-JPO          Document 16          Filed 09/13/24    Page 21 of 22




                                         CONCLUSION

                 WHEREFORE, Defendants respectfully request that the Complaint be dismissed

in its entirety, that the Court enter judgment for Defendants, and that Defendants be granted costs,

fees, and disbursements together with such other and further relief as the Court deems just and

proper.

Dated:           New York, New York
                 September 13, 2024
                                              MURIEL GOODE-TRUFANT
                                              Acting Corporation Counsel of the
                                               City of New York
                                              Attorney for Defendants
                                              100 Church Street, Rm. 2-188
                                              New York, New York 10007
                                              (212) 356-4076
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                                              By:       /s/ Shemori S. Corinthian
                                                        Shemori S. Corinthian
                                                        Assistant Corporation Counsel

To:       All Parties Via ECF




                                               - 21 -
Case 1:24-cv-03557-JPO Document 16 Filed 09/13/24 Page 22 of 22
                      24-cv-03557(JPO)
                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK
                      COREY BRISKIN and NICHOLAS MAGGIPINTO, on
                      behalf of themselves and all others similarly situated,

                                                                                                                  Plaintiffs,

                                                                     -against-

                         CITY OF NEW YORK, ERIC L. ADAMS, individually
                         and in his official capacity as the Mayor of the City of
                         New Yok, RENEE CAMPION, individually and in her
                         official capacity as the Commissioner of the Office of
                         Labor Relations of the City of New York, BILL
                         DEBLASIO, AND ROBERT LINN,
                                                                          Defendants.


                                                                   ANSWER


                                      MURIEL GOODE-TRUFANT
                             Acting Corporation Counsel of the City of New York
                                         Attorney for Defendants
                                         100 Church Street
                                         New York, N.Y. 10007

                                                    Of Counsel: Shemori S. Corinthian
                                                    Tel: (212) 356-4076
                                                    Matter #: 2024-050511

                          Due and timely service is hereby admitted.

                          New York, N.Y. .................................................................. , 2024.

                          ............................................................................................. , Esq.

                          Attorney for ...................................................................................
